       Case 1:00-cr-00038-MP          Document 318        Filed 05/31/06      Page 1 of 1


                                                                                          Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                  CASE NO. 1:00-cr-00038-MP

ZHENG WEI ZHENG,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 317, Motion Requesting an Order to Destroy

Property as to Zheng Wei Zheng. The property involved is a handgun and two boxes of

ammunition. Defendant has been convicted of a felony and has exhausted his appellate and

other procedural rights relating to his conviction. As a convicted felon, he is prohibited from

possessing a firearm or ammunition under Title 18, United States Code, Section 922(g). He is

also subject to deportation. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The motion at doc. 317 is granted, and the government is ordered to destroy the following

property:

       •       One .380 caliber (9mm KURZ) AMT pistol, serial number DAA03746;
       •       One box of .380 caliber ammunition; and
       •       One box of 9mm caliber ammunition.


       DONE AND ORDERED this 30th day of May, 2006


                                       s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
